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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

UNITED STATES OF AMERICA

 

Plaintiff,

VS CR. NO. 04-20330-Ma

SAMMIE FORD,

Defendant.

 

ORDER RESETTING REPORT DATE

 

Before the court is the May 12, 2005 motion of the defendant, Sammie
Ford, requesting that the report date currently set for May 31, 2005 be
advanced to the previous week.

For good cause shown, the motion is granted. The report date is
reset to Thursday, May 26, 2005, at 9:00 a.:n.

IT IS SO ORDERED this the 'BJ¢: day Of May, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

   

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Notice of Distribution

This notice confirms a copy of the document docketed as number 81 in
case 2:04-CR-20330 Was distributed by faX, mail, or direct printing on
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Honorable Samuel Mays
US DISTRICT COURT

